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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division




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                                         :
        SONY MUSIC ENTERTAINMENT, et al.,:
                       Plaintiffs,       :
                                         :
             -vs-                        :          Case No. 1:18-cv-950
                                         :
                                         :
        COX COMMUNICATIONS, INC., et al.,:
                       Defendants.       :
                                         :
        ---------------------------------:




                                   HEARING ON MOTIONS


                                    December 21, 2018


                     Before:    John F. Anderson, U.S. Mag. Judge




        APPEARANCES:

        Matthew J. Oppenheim, Scott A. Zebrak, and Jeffrey M. Gould,
        Counsel for the Plaintiffs

        Thomas M. Buchanan and Jennifer A. Golinveaux,
        Counsel for the Defendants




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   1                 NOTE:   The case is called to be heard at 10:47 a.m.

   2    as follows:

   3                 THE CLERK:    Sony Music Entertainment, et al. versus

   4    Cox Communications, Inc., et al., civil action number

   5    18-cv-950.

   6                 THE COURT:    You need to introduce yourselves for the

   7    record.

   8                 MR. ZEBRAK:    Good morning, Your Honor.            Scott Zebrak

   9    of Oppenheim + Zebrak, counsel for the plaintiffs.                 And with me

  10    today are my colleagues Matthew Oppenheim and Jeffrey --

  11                 MR. OPPENHEIM:    Good morning, Your Honor.

  12                 MR. ZEBRAK:    And Jeffrey Gould.       And Matthew

  13    Oppenheim will be arguing on behalf of plaintiffs today.

  14                 THE COURT:    Okay, thank you.

  15                 MR. BUCHANAN:    Good morning, Your Honor.             Thomas

  16    Buchanan on behalf of the defendant Cox.            With me today is my

  17    partner, Jennifer Golinveaux, from our San Francisco office.

  18                 THE COURT:    And who is going to argue for Cox.

  19                 MR. BUCHANAN:    I will be arguing, Your Honor.

  20                 THE COURT:    Thank you, Mr. Buchanan.

  21                 Okay.   Well, just one thing.       If the parties

  22    throughout -- you can go ahead and have a seat.                If the parties

  23    intend to take advantage of the expedited briefing schedule on

  24    any motions in this case, the party filing the motion who makes

  25    the decision to do that has to be prepared to file a reply




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   1    before the close of business the day before the motion gets

   2    filed.

   3                You know, the idea of filing a reply at 6 o'clock on

   4    Thursday when the motion is being heard at 10 o'clock on Friday

   5    morning, isn't very practical.       And it was, you know, the

   6    moving party's decision to do the expedited briefing schedule.

   7    And so, if you decide to do that, you need to be prepared to

   8    file a reply in a time period in which the Court has time to

   9    consider it before the argument.

  10                I don't need to hear any response.             This goes for

  11    both sides.    So I suspect this isn't the motion -- only motion

  12    I'm going to be hearing in this case, and I want to try and set

  13    the ground rules now so that we don't run into this going

  14    forward.

  15                You know, I have had an opportunity to review all the

  16    pleadings, and I understand they're -- while it gets raised as

  17    two issues, it really is four issues that are in front of the

  18    Court:   The trial exhibits, the public trial exhibits; the fact

  19    witnesses; the expert witness depositions; the answers to

  20    interrogatories; and then the copyright notice issue.

  21                I'm going to do it a little bit piecemeal.                   I am

  22    going to hear argument from the plaintiff first on the trial

  23    exhibits, hear any response from the defendants that I think is

  24    necessary, and then I will take up the other issues separately

  25    or together.    We will see how that works out.             Okay?




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   1                So let's hear about the trial exhibits first.

   2                MR. OPPENHEIM:    Very well.      And thank you, Your

   3    Honor.

   4                As Your Honor no doubt understands from having

   5    reviewed the filings, this case is closely related to the BMG

   6    versus Cox case that was previously before this Court.

   7                The plaintiffs in this case are a number of record

   8    companies and music publishers, they have brought secondary

   9    infringement claims against Cox.        Both cases involved both

  10    contributory and vicarious liability claims.               And the theories

  11    of the cases were largely the same, which were that Cox's --

  12                THE COURT:    This case is different.           I mean, this is

  13    not a case in which you had the settlement demands that were

  14    put in the notice and Cox cut them off.           I mean, so the facts

  15    and circumstances are not the same.         You're right, the legal

  16    theory is the same, the defendant is the same.               The plaintiffs

  17    are different and the copyrighted works are different.

  18                MR. OPPENHEIM:    No doubt that is true, Your Honor.

  19    The claim, the underlying theory in the Rightscorp --

  20                THE COURT:    The point I need to have you address is,

  21    why do you need the public trial exhibits from the BMG case?

  22    And what efforts did you get to get them either from the

  23    Clerk's Office here or the Fourth Circuit?               I mean, I assume

  24    that all the trial exhibits were part of the record on appeal

  25    to the Fourth Circuit.




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   1                MR. OPPENHEIM:    Your Honor, I actually attended and

   2    observed, as did my colleague, good portions of the trial when

   3    it occurred.    And immediately after the -- or I shouldn't say

   4    immediately.    Within weeks of the verdict being rendered, we

   5    reached out to the court reporter to get not only the full

   6    transcript of the case, of the trial, but all of the exhibits.

   7    Obviously the court reporter didn't have the exhibits.

   8                We reached out to the court clerk.             The court clerk

   9    didn't have the exhibits.

  10                We reached out to Judge O'Grady's clerk to see if we

  11    could get a copy.     Everybody said to us we needed to reach out

  12    to the parties, nobody had it.

  13                We have been asking Cox for the exhibits from before

  14    this case was even filed, and they have refused to give it to

  15    us.

  16                Frankly, Your Honor, this shouldn't be a discovery

  17    request.    This was a public trial with a public record.                   Those

  18    exhibits are part of the public record.           And I actually think

  19    that the Rambus decision that we cited in our motion is

  20    directly on point.     Actually, that case goes even further than

  21    we need it to go.     That was a case that involved

  22    demonstratives, I believe, on an argument, not on a trial.

  23                Here, this was a public trial on a case that whether

  24    it had slightly different notices or not, with the same

  25    defendant on the same theory of continued provision of service




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   1    to known infringers.      And all we want to do is get the

   2    exhibits.

   3                 Judge O'Grady in deciding the transfer motion that

   4    Cox brought, and in rejecting it, recognized that there would

   5    be great efficiencies in having this case before this Court.

   6                 THE COURT:   You're going to have to plow your own

   7    road in this case.

   8                 MR. OPPENHEIM:   No doubt.

   9                 THE COURT:   And, you know, the idea that, you know --

  10    well, you're going to have to plow your own road in this case.

  11    But the issue with the trial exhibits I think is different than

  12    other discovery matters, and that's why I want to take this one

  13    up separately because I think there are other considerations

  14    there.

  15                 MR. OPPENHEIM:   I do agree, it is different.                 I

  16    believe the other -- there are other arguments on the other

  17    issues.    But on this, this was a public trial, these are

  18    supposed to be part of a public record.           What part of stare

  19    decisis in our judicial system is public if the exhibits aren't

  20    available?

  21                 And this is not some instance where we're seeking

  22    them for some improper purpose.        We're seeking them because

  23    they are directly related to what we want to put forward before

  24    this Court.

  25                 The defendants are acutely aware of them.               They have




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   1    all of these exhibits.      They are going to rely on these

   2    exhibits.    They are going to rely on that transcript.                  We

   3    should have the same level playing field here, Your Honor.

   4                THE COURT:    Okay.   Mr. Buchanan, let me hear from you

   5    on the public trial exhibits.       And one of the things that --

   6    and I went back to look at the record in the first trial -- and

   7    I know you weren't involved in the first trial.                But as you

   8    know, it's not uncommon for cases, once they are completed, for

   9    the Court to release the exhibits to the parties with the

  10    understanding that the parties would be retaining those

  11    exhibits for any purposes.

  12                The docket sheet doesn't reflect that was actually

  13    done in the first trial, but I suspect if the Clerk's Office

  14    says, we don't have the exhibits, then the exhibits were

  15    probably released to the lawyers.

  16                Do you know whether that is in fact the case or not?

  17                MR. BUCHANAN:    I think that's true.           I believe -- I

  18    believe it was true.      And I think it went to the other lawyers

  19    that represented them in the first trial.

  20                But if I could maybe address that.             The plaintiffs

  21    seem to suggest that all they have to do is ask for something,

  22    say it's available, and they get it.          But there is a standard

  23    to establish if it's reasonably particularly relevant to the

  24    case.   They've never, you know, pointed that out.

  25                And I would say, they had all the pleadings in that




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   1    case since 2005.     They attended the trial.            They have had all

   2    the trial testimony.      They have had the post-trial cites.                  So

   3    what is it they want?

   4                 So in that case you have copyrights and proof of

   5    copyright ownership that have no relevance to this case.                     You

   6    have proof of infringement by Rightscorp, has no relevance to

   7    this case.    Notices from Rightscorp.        Contracts between

   8    Rightscorp and BMG.      BMG contracts.     Rightscorp's discussions

   9    with us.    It is not in any way relevant.

  10                 What we have said is, you have the transcript, you

  11    now have seven of the ten fact witnesses' deposition

  12    transcripts and exhibits.       We're giving the other three today.

  13    Between all of those exhibits and all that testimony and the

  14    trial testimony, you can identify within the trial transcript a

  15    particular exhibit that you believe you want and we will

  16    address that and probably produce it.

  17                 But the notion that we're going to produce 20 boxes

  18    of copyrights and proof of copyrights, all these dealings with

  19    Rightscorp, and their code and methodology, I mean, that is

  20    just not relevant.     We don't want to go down that road because

  21    it creates mischief.      Because then we lead to discovery and

  22    they have got all this stuff and they're asking every witness

  23    about all these things, and we are going to relitigate that

  24    case.   And that's what we want to avoid.

  25                 So that's what we proposed as a solution.               You can go




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   1    through the transcript, find an exhibit, it is described.                      If

   2    you want that and we haven't given it to you -- they're

   3    probably going to get it all.

   4                 In fact, in their response -- their reply brief they

   5    emphasize they want the methodology we used and the practice

   6    and procedures and those witnesses.         That's all contained in

   7    either the trial transcript or the depositions and exhibits we

   8    gave them.    It's all in there, all the factual information that

   9    is relevant to Cox and how they dealt with notices.

  10                 THE COURT:   Okay.   All right.      Well, I think I

  11    understand this issue.      It was fairly fully briefed.

  12                 And again, I want to make sure the parties

  13    understand, I'm considering this one as a different issue

  14    necessarily than discovery-related materials in the first --

  15    the BMG trial.     I mean, I think -- my ruling is going to be

  16    that the public trial exhibits and the demonstratives should be

  17    made available for their inspection and copying.                So if you're

  18    concerned about, you know, the amount of copying that needs to

  19    be done, then you can make arrangements for them to come in and

  20    decide whether they want the, you know, copyright registrations

  21    that were produced by BMG produced in this case.

  22                 I mean, obviously, that doesn't seem to be anything.

  23    But the one thing I don't want us to have to be doing is coming

  24    in here every week and arguing whether this trial exhibit was

  25    relevant or not relevant and having a mini-trial as to what is




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    1    relevant and what isn't.

    2               Given the public nature of the trial, given that

    3    typically in this court the lawyers retain the exhibits with

    4    the understanding that if there is a need for them to be

    5    produced, either in the Fourth Circuit or somewhere else, they

    6    will make them available, I am going to require that the public

    7    trial exhibits and the demonstratives be produced.

    8               All right.    You're producing the three fact

    9    witnesses' depositions --

   10               MR. BUCHANAN:     Just to -- Judge, if I may, you said

   11    to produce.    Does that mean that we make it available for them

   12    to inspect and copy?

   13               THE COURT:    If that's the process that you want to

   14    do, then -- you know, obviously, they can follow the same

   15    course and any document requests that you have, they can then

   16    say, you can come to our offices and look at them and decide

   17    what you want copied or not.       I mean, that's what the rules

   18    indicate --

   19               MR. BUCHANAN:     Right.

   20               THE COURT:    -- you know, the parties can do.                   The

   21    question is what's the practical approach to that.                  And you all

   22    should start trying to work together a little bit on this and

   23    not just put up roadblocks for certain things.

   24               I mean, obviously -- I mean, from my review of what

   25    was produced, there are probably nine boxes of exhibits, if I




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    1    read the -- what was delivered to the Clerk's Office prior to

    2    the first trial, something in that range, if you look at the

    3    docket sheets.    So that isn't an enormous amount of paper to be

    4    produced to one side or the other.         But you all -- you all can

    5    work on the details of that.        But ...

    6               So on that issue, I am going to at least grant in

    7    part that part of the motion.

    8               The fact witnesses, you've produced or will be

    9    producing the Cadenhead, Vredenburg, and Dameri transcripts of

   10    those three fact witnesses; is that correct?

   11               MR. BUCHANAN:     Yes.

   12               THE COURT:    Okay, all right.        All right.         Well, I

   13    will hear the argument on the fact witnesses, expert witnesses,

   14    and interrogatory responses now from the plaintiff.

   15               MR. OPPENHEIM:     Yes, Your Honor.           I don't want to

   16    direct a question to opposing counsel, but maybe this, on the

   17    fact witnesses, it would short circuit it.

   18               I am not sure, but I may have heard opposing counsel

   19    to say that they have produced seven out of the ten fact

   20    witnesses and they plan on producing the other three today?                       If

   21    that's what he said, then the fact witnesses issue is resolved.

   22    Maybe I misheard him.

   23               MR. BUCHANAN:     Correct.

   24               MR. OPPENHEIM:     So they're -- so it sounds like, Your

   25    Honor --




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    1                 THE COURT:   Okay, all right.

    2                 MR. OPPENHEIM:    -- they are agreeing to produce the

    3    fact witnesses.

    4                 THE COURT:   Okay.

    5                 MR. OPPENHEIM:    So with Your Honor's permission, I

    6    will move on to the experts.

    7                 THE COURT:   You have got the expert testimony --

    8                 MR. OPPENHEIM:    Yes.

    9                 THE COURT:   -- that was presented in the trial.                   You

   10    will have all the exhibits that were introduced into trial

   11    relating to the expert witnesses.

   12                 Help me understand why you think you're entitled to

   13    get the deposition transcripts of these expert witnesses.

   14                 MR. OPPENHEIM:    So, Your Honor, unlike the fact

   15    witnesses where we identified three specific witnesses just as

   16    representative, here we actually identified four expert

   17    witnesses.    And that's the -- that's the deposition testimony

   18    we want.   We're not looking to go beyond those four.

   19                 And the reason we identified those four, which

   20    include Ms. -- or I should say probably Dr.

   21    Frederiksen-Cross -- I must admit, I can't remember whether

   22    misters or doctors, but Lehr, McGarty, and Sullivan.                      So those

   23    are the four witnesses.       All four of those witnesses, Your

   24    Honor, provided testimony that was -- is related to the facts

   25    that are going to be at issue in this case.




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    1                So, for instance, Frederiksen-Cross provided

    2    testimony directly on how -- how they analyzed the Cox

    3    Copyright Alert System, how it worked.           And so, the deposition

    4    testimony will speak to the analysis of how that system worked

    5    and what issues were raised by that.

    6                Similarly, Lehr provided testimony with respect to

    7    Cox's financial benefit from infringement.               Again, an issue in

    8    our case.

    9                McGarty provided testimony on the limitations of the

   10    Copyright Alert System that Cox had developed and what a

   11    responsible ISP could do.      Again, an issue in our case.

   12                And Sullivan provided testimony on the effects of the

   13    infringement on Cox, and on the issue of damages as it was

   14    associated from copyright in that case.           Again, an issue in our

   15    case.

   16                So these four witnesses, their testimony on those

   17    issues having reviewed the Cox factual evidence on these

   18    issues, provided testimony on them in deposition.                 They were

   19    cross-examined.

   20                We may well use some of the -- or all of these

   21    witnesses, Your Honor.      And we would want to now how they had

   22    testified previously.     Those witnesses can't necessarily turn

   23    those depositions over to us.       I don't know that they even have

   24    them, to be honest.     But we want to be on a level playing field

   25    where we can see what those witnesses said --




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    1                 THE COURT:   Wouldn't any expert have to keep their

    2    deposition testimony?     They at least have to identify that in

    3    any 26(a)(3) disclosure, right?

    4                 MR. OPPENHEIM:   Certainly they would have to identify

    5    it, I agree with that, Your Honor.         I don't know whether they

    6    have it.

    7                 We need to get past the threshold of the relevance to

    8    deal with -- there is a protective order issue.                I acknowledge

    9    there is a protective order issue.         We can get to that issue,

   10    but only after Cox puts aside its objection on the basis of

   11    relevance.

   12                 THE COURT:   Okay.   All right.

   13                 MR. OPPENHEIM:   So -- and we believe the protective

   14    order issue can be resolved through normal processes.                    This

   15    Court has the ability under the protective order to order its

   16    production.    We can give notice and get consent, or simply be

   17    -- allow BMG to be heard, Your Honor.

   18                 THE COURT:   Okay.

   19                 MR. OPPENHEIM:   So I believe that issue is resolved.

   20                 THE COURT:   What about the answers to the

   21    interrogatories, why do you think you're entitled to those?

   22    All the interrogatory entrances, just one request, give me

   23    every answer to every interrogatory.

   24                 MR. OPPENHEIM:   The problem is, Your Honor, we don't

   25    have the list of the interrogatories that were issued such that




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    1    we could say, we want interrogatories 1, 8, 9, 12, and 13.

    2                All we know is that there were interrogatories issued

    3    in that case to Cox on issues that are no doubt directly

    4    related to the issues in our case.         They are prior sworn

    5    statements on those issues.

    6                To the extent that some of those interrogatories may

    7    have gone to the issue of, for instance, BMG's copyrights, we

    8    obviously don't have an interest in that limited subset, but we

    9    are not in a position, because we haven't been given what the

   10    interrogatories are, to be able to pick and choose.

   11                So this is not burdensome on their part.                And we're

   12    happy to weed through whatever is not relevant because we

   13    suspect that it is very little, Your Honor.

   14                THE COURT:   All right.     Well, on that issue, I am

   15    going to deny the motion to compel both the fact -- well, the

   16    fact witnesses I hope have been resolved, so that one is moot.

   17                I think going beyond what the trial testimony was on

   18    the expert witnesses, you now have whatever exhibits were used

   19    with the expert testimony, going back and going into the core

   20    discovery that was done in the earlier case really is not

   21    appropriate under the circumstances of this case.

   22                Your going to, as I said earlier, have to plow your

   23    own road.   If you want to decide to use an expert witness, you

   24    need to contact that expert witness.          You don't get to do a dry

   25    run in seeing what they did in a deposition before you do that.




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    1                 So I'm going to deny the motion as to the expert

    2    witnesses.

    3                 I'm also going to deny the motion as to the answers

    4    to interrogatories.       That really isn't a particularized

    5    document request.     I mean, you're asking for them to produce

    6    information that is -- you don't really know what it is.

    7                 And so, you know the idea that I want to get all of

    8    their answers to interrogatories in another case that -- and,

    9    you know, I think if you look at the record in the BMG case,

   10    you would probably find that the interrogatories were part of

   11    motions to compel that were filed in that case and would be

   12    available for you to look at and make particularized requests.

   13                 So I'm denying the motion as to the deposition

   14    testimony other than what Mr. Buchanan has indicated he will be

   15    providing to you today in the answers to the interrogatories.

   16                 MR. OPPENHEIM:    May I ask two questions, Your Honor?

   17                 With respect to the expert deposition testimony,

   18    should we choose to retain any of these experts, will the

   19    defendants be allowed to use those transcripts to impeach the

   20    witnesses?

   21                 And at that point in time, if we retain them, will we

   22    be -- have the right to revisit this issue with the Court?

   23                 THE COURT:    Well, if you retain an expert witness, I

   24    suspect you will have that expert witness' deposition

   25    transcript.    If that's an issue that you are unable to get that




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    1    expert witness' deposition transcript, come back to me and I'll

    2    see that you're able to get that.

    3               So if you hire Dr. Sullivan to come in and testify in

    4    your case, and he can't provide you with a transcript of his

    5    deposition that he had to look at and sign before it was, you

    6    know, submitted to the parties, then come back and I will talk,

    7    we will figure out why you didn't get a copy of that or

    8    whatever releases need to be signed in order for you to do

    9    that.

   10               MR. OPPENHEIM:      Your Honor, we've already spoken to

   11    several of these experts.      And they have indicated that because

   12    of the protective order, that they were uncomfortable giving us

   13    copies of the transcript.      That's why we're here today.

   14               So without prejudice, we can revisit this issue if it

   15    arises, Your Honor?

   16               THE COURT:    Okay, without prejudice, yes, sir.

   17               MR. OPPENHEIM:      With respect -- sorry.            With respect

   18    to the interrogatories.      I just want to make sure I understand.

   19               To the extent that we, for instance, issued a

   20    document request asking for prior sworn statements regarding

   21    Cox's CATS system, their Copyright Alert System, or prior sworn

   22    statements regarding top, certain topics, Your Honor is not

   23    ruling on that at this point?

   24               THE COURT:    No.   I'm ruling on the motion to compel.

   25    The motion to compel was relating to their answers to




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    1    interrogatories.     So I am denying the motion to compel on that

    2    issue.

    3                MR. OPPENHEIM:    Very well, Your Honor.

    4                THE COURT:   Okay.   Let me hear your argument on the

    5    all copyright notices from January 2010 to December 31, 2014.

    6                MR. OPPENHEIM:    So, Your Honor, our legal theory in

    7    this case is that Cox knowingly provided Internet service to

    8    subscribers for whom Cox knew that the subscribers were engaged

    9    in infringement.

   10                The Fourth Circuit's opinion in the BMG case said

   11    that the question in these types of cases is:               Did Cox know

   12    it's subscribers were infringing and could it do something

   13    about it?

   14                The question of whether or not those notices came

   15    from the plaintiffs is irrelevant.         The question is whether or

   16    not Cox had knowledge.

   17                THE COURT:   Well, that has to be knowledge of someone

   18    who infringed your client's copyrights, right?

   19                MR. OPPENHEIM:    So that --

   20                THE COURT:   I mean, you only have standing to sue for

   21    someone who infringed your clients' copyrights?

   22                MR. OPPENHEIM:    Of course, Your Honor.             There are

   23    three elements in a contributory claim, Your Honor:                  The

   24    underlying direct infringement.       That underlying direct

   25    infringement, there has to be evidence of it.               The evidence in




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    1    this case will come from the notices that our clients sent.

    2               But the issue of knowledge as to whether or not a

    3    particular subscriber -- that Cox knew that a particular

    4    subscriber was infringing, could have come from anybody.

    5               Let me give you an example, Your Honor --

    6               THE COURT:    But that's not what you're asking for,

    7    and that's not what you're asking me to order Cox to produce.

    8               MR. OPPENHEIM:     No, respectfully, Your Honor, I think

    9    that is precisely --

   10               THE COURT:    Well, that's a part of it, but not all of

   11    it.   You're asking this Court to order Cox to produce every

   12    copyright or every notice of infringement that it got for a

   13    five-year period no matter who sent it or who the subscriber

   14    was, or whether that subscriber had any relationship with your

   15    clients.

   16               MR. OPPENHEIM:     Absolutely, Your Honor.             It goes to

   17    two elements.    First, the notices, whether they came from the

   18    motion picture studios, whether they came from software

   19    companies, photo companies, you name it, go to Cox's knowledge

   20    that particular subscribers were infringing.

   21               But it also goes to willfulness, Your Honor.                    If Cox

   22    received 10 million notices and was doing virtually nothing on

   23    it, on the issue of willfulness, a jury should get to hear

   24    that.

   25               THE COURT:    Okay.   Well, help me understand how it's




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    1    proportional for them to produce 10 million notices as opposed

    2    to you finding out a number of infringing notices as opposed to

    3    the actual notices themselves?

    4               MR. OPPENHEIM:     Your Honor, I believe that the issue

    5    of whether or not they produced the actual notice versus a

    6    database of the notices they received is an issue we never got

    7    to because the defendants just hard-lined:               It's irrelevant,

    8    we're not going to have a discussion about it.

    9               The defendants have acknowledged to us they have a

   10    database of what those notices are.         We don't need the actual

   11    notices.   The database that shows those notices is likely to be

   12    sufficient and not burdensome.

   13               But I will say that the affidavit that was put

   14    forward as to the burden in the context of this case, where it

   15    is virtually the entire music industry on a critical issue of

   16    infringement involving almost 11,000 copyrights, the fact that

   17    it takes several days of engineering time and then computing

   18    power, is not burdensome and certainly is proportional.

   19               Computing time, by the way, is just a function of

   20    how --

   21               THE COURT:    It's only proportional if it -- how it

   22    relates to an issue that is in this lawsuit.               And if the issue

   23    in this lawsuit relates to they had tens of thousands or

   24    millions of copyright infringement notices sent to them, you

   25    know, that's one thing.




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    1                 But having them produce the actual notices, which is

    2    what you've asked for in document request number 11, is a

    3    different set of circumstances.        So it has to be -- you weigh

    4    the burden as to what is the information that is needed in

    5    order to prepare a claim or a defense and weigh that.

    6                 And the idea of, you know, providing 10 million or

    7    however million notices, just because you want to sit there and

    8    count them up and say they got 10 million notices in the past,

    9    makes your request not proportional.

   10                 MR. OPPENHEIM:   Your Honor, we've produced well over

   11    200,000 --

   12                 THE COURT:   Well, I --

   13                 MR. OPPENHEIM:   If I may, Your Honor, 200,000

   14    notices.   If a particular subscriber -- if we sent a notice on

   15    a particular subscriber with a particular IP address right

   16    here, but we only sent one notice on that subscriber, and

   17    that's all we have to rely on, Cox will say, well, we only

   18    received one notice as to this subscriber.

   19                 If they receive 1,000 notices on that subscriber from

   20    other copyright owners, suddenly the -- before ours, suddenly

   21    that one is critical.     And it shows that they knowingly

   22    provided service to a known infringer on a specific

   23    infringement.

   24                 So, Your Honor, what we want to do is be able to do

   25    that analysis.    They have a database, they track this.                  They




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    1    have testified in the BMG trial that they have this Copyright

    2    Alert System that tracks notices.        We're happy to get the data

    3    set without getting the actual underlying notices to the extent

    4    that it has the relevant information.          But we can't have that

    5    discussion when they claim that it's absolutely not relevant.

    6               So, Your Honor, it goes not only to our liability

    7    claim, but it also goes to the statutory damages issues, Your

    8    Honor, and findings of willfulness.

    9               THE COURT:    Okay.   Well, on this issue, I also think

   10    -- I mean, I have to deal with the motion that has been

   11    presented --

   12               MR. OPPENHEIM:     Can I add one point I left out?

   13               THE COURT:    Yeah.

   14               MR. OPPENHEIM:     Judge O'Grady actually spoke to this

   15    in some measure in the BMG case.        In the BMG case there were

   16    exhibits of correspondence internally at Cox regarding notices

   17    that came from vendors other than Rightscorp, and Cox argued

   18    those aren't relevant.      All that is relevant is that which

   19    arose from the Rightscorp notices.         And Judge O'Grady said, no,

   20    that's not the case.

   21               And I think that ruling is directly applicable to

   22    what we're looking for here.       On the issue --

   23               THE COURT:    Well, what you're looking for here is

   24    every individual notice, not e-mails relating to the number of

   25    notices.




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    1                MR. OPPENHEIM:    He wasn't -- the e-mails at issue

    2    were e-mails about specific notices from other vendors.

    3                THE COURT:   I, you know, was involved in the first

    4    case.

    5                MR. OPPENHEIM:    Absolutely, Your Honor.

    6                THE COURT:   I don't recall ordering that every

    7    copyright and notice that was ever sent to Cox be produced, and

    8    that that was an issue that Judge O'Grady would have been

    9    referring to when he made a comment about e-mails.

   10                MR. OPPENHEIM:    I'm not suggesting that that was the

   11    issue as it was joined.      But the issue that came up were

   12    specific documents about notices that came from other vendors.

   13                And the Court not only -- it wasn't a discovery -- it

   14    was an admissibility issue.      The Court said, absolutely it's

   15    relevant.   You go beyond just what Rightscorp said.

   16                And that ruling applies here.         It's not just the

   17    notices that are -- that Markmonitor, which is the vendor in

   18    this case, sent.     It's all of the notices so we can do the

   19    analysis, so the jury can have the full picture of Cox's

   20    conduct with respect to notices.

   21                THE COURT:   All right.     Well, on this issue, I think

   22    I also understand what the issue is.          And I, again, have to

   23    deal with what the motion to compel is and what the discovery

   24    request is.    And this is not a request to -- that is specific

   25    to those customers or subscribers who you sent notices to to




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    1    find out whether they had additional notices or other claims

    2    that they were infringing.      This is every notice of

    3    infringement for a five-year period from anybody about any

    4    subscriber.    And I think, you know, that asks for way too much

    5    information for an extended period of time.

    6                And I know your claim period is February of 2013 to

    7    2014.    And, you know, if this was a motion relating to those

    8    subscribers that you have identified as to any other notices

    9    received from others, that's a different story.

   10                If it was a motion dealing with the number in a

   11    generic sense of copyright notices or infringement notices, you

   12    know, that they received over a period, that's a different

   13    story.

   14                But the motion to compel here is all notices relating

   15    to, you know, this issue for a five-year period of time.                     And

   16    I'm denying the motion to compel.        I think it's overbroad.                I

   17    think it is unduly burdensome.       I think it is not proportional

   18    to the needs of the case as written.

   19                Obviously, this is something that I've, you know,

   20    indicated that I would consider requiring them to possibly

   21    produce notices of infringement from other parties that are

   22    directly related to the claims in this case, but not every

   23    notice of infringement for a five-year period of time.

   24                So, in essence, I'm granting the motion in part,

   25    denying the motion in part for the reasons I've stated from the




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    1    bench.

    2                 Okay?   Thank you, counsel.

    3                 Court will be adjourned.

    4                 NOTE:   The hearing concluded at 11:20 a.m.

    5             ------------------------------------------------

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    8

    9              C E R T I F I C A T E    of   T R A N S C R I P T I O N

   10

   11                 I hereby certify that the foregoing is a true and

   12    accurate transcript that was typed by me from the recording

   13    provided by the court.      Any errors or omissions are due to the

   14    inability of the undersigned to hear or understand said

   15    recording.

   16

   17                 Further, that I am neither counsel for, related to,

   18    nor employed by any of the parties to the above-styled action,

   19    and that I am not financially or otherwise interested in the

   20    outcome of the above-styled action.

   21

   22

   23                                         /s/ Norman B. Linnell
                                            Norman B. Linnell
   24                                       Court Reporter - USDC/EDVA

   25




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